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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


               STATE OF COLORADO et al                         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cv-3010
                        GOOGLE LLC                             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          STATE OF NORTH DAKOTA                                                                                          .


Date:          01/21/2021                                                             /s/Parrell D. Grossman
                                                                                         Attorney’s signature


                                                                                 Parrell D. Grossman, ND ID 04684
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